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 1   JEREMY R. MORRIS, Esq.
     Attorney at Law
 2   PO Box 1296
     Hayden, Idaho 83835
 3
     Tel. (208) 964-5878
 4   jrmorris81@icloud.com
     Idaho Bar No. 8500
 5
     Attorney for Plaintiffs
 6
     MR. JEREMY MORRIS, ATTORNEY PRO-SE LITIGANT & MRS. KRISTY MORRIS.
 7
 8                                        U.S. DISTRICT COURT

 9                                         DISTRICT OF IDAHO

10    MR. JEREMY MORRIS & MRS. KRISTY                       Case No.:
      MORRIS.
11
                      Plaintiffs,
12               v.                                         PLAINTIFF’S ORIGINAL
13                                                          COMPLAINT & REQUEST FOR
      WEST HAYDEN ESTATES FIRST                             RELIEF
14    ADDITION HOMEOWNERS
      ASSOCIATION, INC., an Idaho
15    Corporation.                                          JURY TRIAL DEMANDED
16
                      Defendant.
17
18                                  I. PRELIMINARY STATEMENT
19
             1. Plaintiffs Mr. and Mrs. Jeremy Morris, (together, “the Morris’”) bring this civil action
20
     for compensatory and punitive damages under 42 U.S.C. §§3601, 42 U.S.C. §3604(b), 42 U.S.C.
21
     §3604(c), and 42 U.S.C. §3617, hereinafter, (the “Fair Housing Act”), and under Idaho Code
22
23   §67-5909, (hereinafter, the “Idaho Human Rights Act,”), to redress discrimination on the basis of

24   religion.
25
             2. As alleged more fully below, the Defendant, West Hayden Estates First Addition
26
     Homeowners Association, (hereinafter, “the HOA” or “the BOARD”), unlawfully discriminated
27
     against the Morris’ based on their religion. Jeremy and Kristy Morris made an offer to purchase
28

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 1   a home in West Hayden Estates HOA for the purpose of hosting an annual Christmas program.

 2   Immediately after making the offer, the Morris’ contacted the BOARD to discuss the annual
 3
     Christmas program. Rather than meeting with the Morris’, the HOA responded by composing a
 4
     certified letter stating that a Christmas show is offensive to non-Christians in the neighborhood
 5
     and also threatened litigation. The BOARD also circulated a second letter containing knowingly
 6
 7   false statements to every member of the association in an effort to dissuade the Morris’ from

 8   going through with their home purchase. The Morris’ also learned the HOA contacted the
 9
     SELLERS of the home prior to closing. The HOA informed the SELLERS that a letter had been
10
     sent to the Morris family because the HOA did not want the Morris’ beliefs pressed on others in
11
     the neighborhood. The HOA fostered a hostile atmosphere resulting in such episodes including,
12
13   but not limited to: one neighbor threatening to have the Morris’ murdered, another neighbor

14   pounding a cane into the pavement many times at an annual members meeting shouting demands
15   for the Morris’ to “get the hell out,” and threatening online Facebook posts including one as
16
     recently as December 14, 2016 which suggested the Morris’ should be prepared to stock up on
17
     weapons at the local gun show. Despite having been informed of these incidents, the BOARD
18
19   did nothing to de-escalate the hostile atmosphere which they had created.

20          3. Defendant’s conduct violates sections 42 U.S.C. §§3601, 42 U.S.C. §3604(b), 42
21   U.S.C. §3604(c), and 42 U.S.C. §3617 of the Fair Housing Act. The Defendant’s conduct also
22
     violates Idaho Code §67-5909, also known as the Idaho Human Rights Act. Therefore, money
23
     damages should be awarded in accordance with the Prayer for Relief in Section V. of this
24
25   Complaint

26          4. The Plaintiffs request a trial by jury as to the issues of liability and compensatory and
27   punitive damages.
28

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 1                                    II. JURISDICTION and VENUE

 2          5. This Court has jurisdiction over the subject matter of this action pursuant to 42 U.S.C.
 3
     § 3613(a).
 4
            6. Venue is proper under 28 U.S.C. §§ 1391(b) and (c). Defendant resides in this
 5
     district, and the events giving rise to this Complaint occurred in this district.
 6
 7
 8                                           III. THE PARTIES
 9
            7. At all relevant times to this Complaint, the Plaintiffs have resided in Kootenai County,
10
     Idaho. Mr. and Mrs. Morris are aggrieved persons as that term is defined by the Act, 42 U.S.C.,
11
     §3602(i), and have suffered harm resulting from the Defendant’s conduct.
12
13          8. At all relevant times to this Complaint, Defendant West Hayden Estates First Addition

14   Homeowners Association was an Idaho corporation that governed a housing development
15   consisting of approximately 50 residential dwellings. The HOA Board was vested with the
16
     authority to make decisions on behalf of its members and it used its authority to undertake
17
     actions inconsistent with federal Fair Housing Laws and the Idaho Human Rights Act.
18
19
20                                  IV. STATEMENT OF FACTS
21          9. Jeremy and Kristy Morris are married and have lived in Idaho since 2013.
22
            10. On December 15-22, 2014, with the help of Candlelight Christian Fellowship, the
23
     Morris’ held their First Annual Hayden Christmas program in the driveway of the home they
24
25   were renting at 1473 W. Cardinal Ave., Hayden, Idaho 83835. The purpose of this Christmas

26   program was to spread the Gospel and love of Jesus Christ to the community by raising funds for
27   two local charities that aid children suffering from homeless or cancer.
28

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 1          11. On December 27, 2014, the Morris’ contacted realtor Paul Sohrweide with Hope

 2   Realty in Coeur d’Alene to purchase a home for the expressed purpose of continuing their annual
 3
     Christmas program. The Morris’ specifically instructed Mr. Sohrweide to locate a residence best
 4
     suited for hosting the Morris family’s annual Christmas Program.
 5
            12. On December 31, 2014, after having reviewed the CCRs (See Exhibit 1 Attached)
 6
 7   and having determined there was no prohibition against their planned Christmas program, Mr.

 8   and Mrs. Morris entered into a contract with Sellers Kris and Larry Brazeal (hereinafter,
 9
     “SELLERS”), for the purchase of 13111 N. Ferndale Dr., Hayden, Idaho 83835 for $315,000.
10
            13. On or about January 3, 2015, Mr. Morris contacted the West Hayden Estates HOA
11
     and spoke with HOA President Jennifer Scott so as to inform her that he had entered into a
12
13   contract for the purchase of a home in the West Hayden Estates HOA and that he would be

14   hosting an annual event from 6-8pm for 5 days. During this phone call, Mr. Morris offered
15   suggestions to minimize any potential disruptions to the neighborhood that may result from
16
     future Christmas programs, including, but not limited to: utilizing buses to avoid any traffic
17
     congestion. Mr. Morris also pointed out that there were no rules in the HOA CCRs that
18
19   prevented him from hosting this program, but that he wanted to be cordial and encourage

20   members of the HOA to take part in the festivities if they so desired.
21          14. Mrs. Scott suggested Mr. Morris present the plan to the HOA Board and she setup a
22
     meeting for that purpose. Mr. Morris was advised that he would be called into the meeting, by
23
     phone, when they were ready to speak with him.
24
25          15. The Board held this meeting several days later, but refused to call Mr. Morris into the

26   meeting. When Mr. Morris inquired as to why the Board did not call him during the meeting, the
27   President stated that the Board was furious and would not meet or speak with him.
28

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 1          16. Mr. Morris informed Mrs. Scott that he would be proceeding with the purchase of the

 2   home as there was no rule against hosting a Christmas fundraiser, putting up Christmas lights, or
 3
     any other relevant prohibition within the Covenants and Restrictions according to numerous
 4
     attorneys that Mr. Morris had consulted.
 5
            17. On January 16, 2015, Mr. Morris received a certified letter from the HOA
 6
 7   referencing “litigation.” (See Exhibit 2, Attached). The letter stated, in part, “And finally, I am

 8   somewhat hesitant in bringing up the fact that some of our residents are non-Christians or of
 9
     another faith and I don’t even want to think of the problems that could bring up.” The letter also
10
     mentioned a fear that the Morris Family Christmas show would bring “undesirables” to the
11
     neighborhood.
12
13          18. Mr. Morris contacted the HOA President and expressed his concerns about the

14   certified letter with Mrs. Scott. Mrs. Scott admitted during this conversation that the HOA had
15   indeed engaged in discrimination against the Morris family. Mrs. Morris was also concerned and
16
     became distressed and was advised by her Pastor, Paul Van Noy to not move to the home. (See
17
     Exhibit 17, Attached).
18
19          19. In another phone conversation, President Scott explained that when drafting the

20   certified letter, it was originally written so as to greater emphasize religious objections to our
21   Christmas program. She stated, “it was even worse before the letter was toned down.”
22
            20. On or about February 1, 2015, Mrs. Morris was informed by the SELLER, Kris
23
     Brazeal, that the HOA had drafted a letter about the Morris family and the Christmas program
24
25   and was walking that letter around the neighborhood. Mrs. Brazeal stated that she believed she

26   was required to share the existence of this new letter because the SELLERS did not want
27   anything to “hinder the sale of our house.” She stated that the letter being distributed to all of the
28

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 1   neighbors “did not paint the [Christmas show] in the best light.” Mrs. Brazeal also relayed

 2   conversations she had with other neighbors including a realtor who shared Kris Brazeal’s belief
 3
     that the Morris family was being “discouraged from buying a house in the neighborhood.”
 4
            21. During this same recorded conversation, Mrs. Brazeal informed Mrs. Morris that the
 5
     HOA had contacted the SELLERS and notified them of the earlier, certified letter that was sent
 6
 7   to the Morris family. The SELLER stated that the HOA told her that the HOA did not want the

 8   Morris’ to “press their beliefs on others in the neighborhood.” Mrs. Brazeal stated that from the
 9
     way the HOA President described it, she believed “it sounded pretty prejudiced against the
10
     Christian religion.” The SELLER also stated that she did not want the actions of the HOA to
11
     deter the Morris’ from moving forward with the transaction due to the difficult time the
12
13   SELLERS had in finding a buyer and the amount of time the house had sat on the market.

14          22. The letter described by the SELLER was delivered on February 4, 2015. (See Exhibit
15   3, Attached). The letter contained numerous knowingly false details about the event and called
16
     for an Emergency Meeting to be held on February 13, 2015 for members to vote on whether the
17
     event should take place.
18
19          23. On February 9, 2015, Jeremy Morris and his acting attorney, Richard Mast of the

20   non-profit Liberty Counsel, a Florida-based religious liberties organization, drafted a letter which
21   was mailed to every member of the HOA so as to correct the knowingly false allegations made
22
     by the HOA in their February 4 letter. (See Exhibit 4, Attached).
23
            24. On February 13, 2015, the Emergency Meeting was held. Mr. and Mrs. Morris were
24
25   not in attendance because they were not yet members of the Association, nor were they invited.

26   At least three of Mr. Morris’ future neighbors as well as the SELLERS informed Mr. Morris that
27   no action was taken at the meeting after several people voiced concerns that the Board had acted
28

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 1   recklessly with regard to making religion a part of the discussion over whether the event should

 2   be held.
 3
            25. The Morris’ closed on their home purchase on March 20, 2015. The Morris’
 4
     received no contact from the HOA from March 20 until October 27, 2015.
 5
            26. On October 27, 2015, the Morris’ received a demand letter from an attorney
 6
 7   representing the HOA stating that the Christmas Charity Fundraiser will be “offensive to the

 8   senses.” The demand letter asserted that if within ten days the Christmas lights covering the
 9
     Morris home were not removed and if a statement were not made canceling the Christmas
10
     program, that the HOA would take legal action.
11
            27. The Morris’ contacted attorneys during this time who concluded that no provisions
12
13   of the CCRs were implicated by the Christmas program and that the HOA was likely using

14   concerns about “traffic” as a pretext to discriminate against the Morris family’s decision to use
15   their property to spread their Christian faith.
16
            28. On October 30, 2015, Mr. Morris contacted Fox News about the ongoing efforts by
17
     the HOA to stop the Christmas program. On November 24, 2015, following a national news
18
19   story (See Exhibit 5, Attached) and subsequent interviews by ABC, NBC, CBS, Huffington Post,

20   Salon.com, USA Today, and numerous other news outlets, the HOA told the media it would not
21   be pursuing legal claims against the Morris family.
22
            29. From December 16-20, 2015, the Morris’ held their Christmas program. Several
23
     attempts by HOA members to interfere with their program, include, but are not limited to: a
24
25   videotaped death threat by one neighbor, coordinated efforts calling sheriff’s deputies numerous

26   times for legally parked vehicles on public side streets, and documented examples of neighbors
27   using foul language in the presence of children. (See Exhibit 6-10, Attached).
28

                               PLAINTIFF’S ORIGINAL COMPLAINT & REQUEST FOR RELIEF
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 1          30. The Morris’ sought the aid of Alison Brace of the Intermountain Fair Housing

 2   Counsel. On January 20, 2016, Ms. Brace stated to Mr. Morris over the phone that, at least in
 3
     part, the actions taken by the HOA were discriminatory. Ms. Brace subsequently sent Mr.
 4
     Morris a letter stating that due to funding issues, the Fair Housing Counsel was focused on
 5
     “larger companies such as property managers who manage a lot of properties” but that Mr.
 6
 7   Morris was free to pursue his own civil litigation against the Defendant. (See Exhibit 11,

 8   Attached).
 9
            31. Following the Christmas program held in the West Hayden Estates HOA, the
10
     BOARD circulated a letter on February 15, 2016 (See Exhibit 12, Attached), to every residence
11
     in the neighborhood alleging, among other things, that children peed in the snow during the
12
13   Christmas program. The letter also alleged that the street was blocked despite video taken during

14   the program that contradicted this claim. (See Exhibit 16, Attached). Mr. Morris confronted the
15   incoming HOA President about the February 2016 letter.
16
            32. Incoming 2016 HOA President and former Vice President Ron Taylor told Mr.
17
     Morris that the HOAs failed attempt to stop the Christmas program through the threat of legal
18
19   action was not taken on the basis of rule violations, but rather because some members of the

20   association “don’t like Christmas.”
21          33. On February 16, 2016, Mr. Morris’ neighbor “Angie” explained in a recorded
22
     interview that she spoke with former HOA President Jennifer Scott and asked Mrs. Scott what
23
     CCRs the Morris’ violated. The former President admitted that no CCRs were violated. Angie
24
25   asked why it was then that a lawyer was hired and legal action threatened to stop the Christmas

26   program. Angie was told it was because they didn’t want it in their neighborhood.
27
28

                              PLAINTIFF’S ORIGINAL COMPLAINT & REQUEST FOR RELIEF
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 1          34. On December 14, 2016, the Morris family hosted their second Christmas program

 2   second in the West Hayden Estates neighborhood. (See Exhibit 13, Attached). On the same day,
 3
     a threat was posted to the Christmas show’s event page that Mr. Morris should stock up on guns
 4
     at a local gun show. This threat was reported to Sheriff’s deputies. That threat was later
 5
     provided to the incoming 2017 President of the HOA and no action was taken.
 6
 7          35. From December 14-18, 2016, members of the HOA, including members of the

 8   BOARD again interfered with the Christmas program by such methods as: throwing snowballs
 9
     at buses, pretending to be hit by a bus while “fake-plowing” the road at 8pm without the plow
10
     running, boarding a bus and yelling at riders, and trespassing.
11
12
13   The HOA Engaged in Disparate Treatment by Not Enforcing Provisions of the CCRs Against
     Other Members With Clear Violations, While Taking Aggressive Action Against the Plaintiffs
14   Not in Violation
15
16          36. SELLERS stated as recently as January 12, 2017, that massive football games were

17   held at 13111 N. Ferndale Dr., Hayden, ID 83835 for years prior to the SELLERS transferring
18   ownership of the home to the Morris family. (See Exhibit 15, Attached). SELLERS never
19
     received a single letter or any other contact from the BOARD in their time living the residence
20
     from 2001-2015. Former HOA member “Angie” confirmed in an audio recording in February
21
22   2016 that the HOA never expressed any concern about the massive traffic created by football

23   parties prior to the Morris family moving to the neighborhood.
24          37. Several members maintain more dogs than they are permitted under the rules of the
25
     CCRs. These dogs are walked daily through the neighborhood in full view and without fear of
26
     violation despite their clear prohibition. (See Exhibit 14, Attached). Other members have
27
28

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 1   installed shops, asphalt driveways, and copper dormers in violation of the rules without any

 2   intervention by the HOA.
 3
 4
                                          IV. CAUSES OF ACTION
 5
                                        FIRST CAUSE OF ACTION
 6
 7                                   For Violations of 42 U.S.C. §3604

 8
            38. Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 37 of
 9
     this Complaint as if fully set forth in this paragraph.
10
11          39. 42 U.S.C. §3604(b) prevents any person from discriminating against any person in
12
     the terms, conditions, or privileges of sale or rental of a dwelling, or in the provision of services
13
     or facilities in connection therewith, because of race, color, religion, sex, familial status, or
14
     national origin. The Defendant violated the Fair Housing Act by discriminating against Mr. and
15
16   Mrs. Morris’ religious beliefs through a systematic strategy to first dissuade the Morris’ from

17   moving to their home at 13111 N. Ferndale Dr., Hayden, ID 83835 under the threat of litigation,
18
     then by dissuading the SELLERS from selling the property to the Morris family by contacting
19
     the SELLERS on or about January 20, 2015, and then by creating a hostile living environment in
20
     an effort to discourage the Morris family from continuing to live in the association. The HOA
21
22   created a hostile living environment both by directly engaging with neighbors through letters and

23   unofficial meetings and also indirectly through their inaction as the Morris’ faced both verbal
24   and physical threats by neighbors.
25
26          40. 42 U.S.C. §3604(c) prevents any person from making, printing, or publishing or

27   causing to be made, printed, or published any notice, statement, or advertisement, with respect to
28   the sale or rental of a dwelling that indicates any preference, limitation, or discrimination based

                               PLAINTIFF’S ORIGINAL COMPLAINT & REQUEST FOR RELIEF
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 1   on among other things, religion. The HOA printed a statement in the form of a certified letter

 2   which indicated a preference for non-religious homeowners.
 3
 4           41. The Defendant’s conduct had a discriminatory effect on the Plaintiffs due to their

 5   religion.
 6
             42. The discriminatory actions of Defendants were intentional, willful, and taken in
 7
 8   disregard of the rights of Mr. and Mrs. Morris.

 9
                                    SECOND CAUSE OF ACTION
10
11                                For Violations of Idaho Code §67-5909
12
             43. Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 42 of
13
14   this Complaint as if fully set forth in this paragraph.

15
             44. Defendant violated Idaho Code §67-5909(8)(b) otherwise known as the Idaho
16
     Human Rights Act when Defendant unlawfully discriminated against Mr. and Mrs. Morris by
17
18   interfering with the privileges of a real estate transaction and in the furnishing of services in

19   connection therewith.
20
             45. Defendant violated Idaho Code §67-5909(8)(f) when Defendant printed posted,
21
22   circulated, mailed, and caused to be published a statement which indicates, directly or indirectly,

23   an intent to make a limitation, specification, or discrimination with respect thereto.
24
                                       THIRD CAUSE OF ACTION
25
26                                   For Violations of 42 U.S.C. §3617
27
28

                               PLAINTIFF’S ORIGINAL COMPLAINT & REQUEST FOR RELIEF
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 1          46. Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 45 of

 2   this Complaint as if fully set forth in this paragraph.
 3
            47. Under 42 U.S.C. §3617, it is unlawful to coerce, intimidate, threaten, or interfere
 4
 5   with any person in the exercise or enjoyment of any right granted by the Fair Housing Act. The

 6   Defendant intimidated Mr. & Mrs. Morris by sending a certified letter threatening litigation

 7   during a real estate transaction that referenced the impact that allowing a Christian holiday to be
 8
     celebrated would have on non-Christians that live in the neighborhood. Use of the words, “I
 9
     don’t even want to think of the problems that could bring up” were words intended to intimidate
10
     the Defendant. The Defendant interfered with the transaction by contacting the Sellers and
11
12   attempting to dissuade them from selling to the Plaintiffs. Defendant also interfered with the

13   exercise and enjoyment of the Morris family’s property rights upon completing the sale as the
14
     Plaintiffs have constantly lived in fear, keeping their doors locked at all times, and obtained
15
     concealed carry permits for protection.
16
                                         V. PRAYER FOR RELIEF
17
18      WHEREFORE, Plaintiffs respectfully pray for a judgment against Defendants for:

19      1. Injunctive and equitable relief as the Court deems appropriate including;
20              i)      De-annex the Morris property from the HOA
21
                ii)     Requiring Defendant to attend training in Fair Housing and anti-
22
                        Discrimination.
23
24      2. Compensatory damages to be paid by the Defendant, according to proof at trial, including

25          awarding such damages as will compensate Mr. and Mrs. Morris fully for their shock,
26          humiliation, embarrassment, inconvenience, and economic loss caused by Defendant’s
27
            discriminatory conduct pursuant to 42 U.S.C. §3612(o)(3) and 42 U.S.C. §3613(c);
28

                               PLAINTIFF’S ORIGINAL COMPLAINT & REQUEST FOR RELIEF
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 1      3. Awarding punitive damages to the Plaintiffs in the amount of TWO HUNDRED AND

 2          FIFTY THOUSAND DOLLARS ($250,000) pursuant to 42 U.S.C. §3612(o)(3) and 42
 3
            U.S.C. §3613(c). Defendant’s conduct demonstrates a reckless disregard for those of
 4
            certain religious backgrounds and is contrary to both federal and state law. The acts and
 5
            omissions described above were willful and performed with actual or implied malice. To
 6
 7          date, the Defendant has never issued so much as an apology and continues, through direct

 8          and indirect actions, to create an atmosphere incompatible with the quiet use and
 9
            enjoyment sought by Mr. and Mrs. Morris. Punitive and exemplary damages are
10
            therefore appropriate and should be imposed in this instance;
11
        4. Costs and attorneys fees of this lawsuit, with interest pursuant to 42 U.S.C. §3612(p);
12
13      5. Granting such further relief as this Court may deem just and proper.

14
15   Dated: January 12, 2017
16
                                                           /s/ Jeremy Morris________
17                                                  Jeremy Morris, Esq.
                                                    Attorney at Law
18                                                  Attorney for Plaintiffs / pro-se litigant
19                                                  JEREMY AND KRISTY MORRIS

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                               PLAINTIFF’S ORIGINAL COMPLAINT & REQUEST FOR RELIEF
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